Case 6:21-cv-04191-RRS-CBW Document 73 Filed 05/19/22 Page 1 of 4 PageID #: 2361




                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA

  AIG SPECIALTY INSURANCE                 §   CIVIL ACTION NO. 6:21-CV-04191-RRS CBW
  COMPANY (f/k/a CHARTIS                  §
  SPECIALTY INSURANCE                     §             JUDGE ROBERT R SUMMERHAYS
  COMPANY)                                §
                                          §
  VS.                                     §             MAGISTRATE CAROL B WHITEHURST
                                          §
  KNIGHT OIL TOOLS, INC.                  §
                                          §            (ORAL ARGUMENT REQUESTED)
                                          §                   (JURY REQUESTED)

  UNOPPOSED MOTION FOR LEAVE TO FILE COMBINED REPLY MEMORANDUM
      IN EXCESS OF PAGE LIMIT BY INTERVENOR RIPPY OIL COMPANY

         NOW INTO COURT, through undersigned counsel, comes Intervenor, RIPPY OIL

  COMPANY (“Rippy Oil”), who respectfully represents as follows:

                                                  1.

         On December 7, 2021, AIG Specialty Insurance Company (“AIG”) filed its complaint for

  declaratory judgment against Knight Oil Tools, Inc. only. (“KOT”). [R. Doc. 1]. Defendant KOT

  filed a waiver of service [R. Doc. 14] followed by two unopposed Motions for Extension of Time

  to File an Answer or Other Responsive Pleading. [R. Doc. 30 and 34]. KOT filed a Motion to

  Dismiss for lack of Jurisdiction or in the alternative, Motion to Stay by Knight Energy Services,

  LLC, incorrectly named, Knight Oil Tools, Inc. on March 22, 2022. [R. Doc. 42].

                                                  2.

         On January 18, 2022, this Honorable Court granted leave for Rippy Oil to intervene and

  file a motion to dismiss the complaint of plaintiff AIG Specialty Insurance Company (“AIG). [R.

  Doc. 12.] That same day, Rippy Oil filed its Motion to Dismiss. [R. Doc. 13.] at the behest of

  AIG, Intervenor filed a Motion for Abstention and to Dismiss Complaint for Declaratory Judgment

  or in the alternative Stay or Transf4r. [R. Doc. 36] As one basis for its Motion to Dismiss, Rippy


                                                  1
Case 6:21-cv-04191-RRS-CBW Document 73 Filed 05/19/22 Page 2 of 4 PageID #: 2362




  Oil Company questions whether AIG has a live case or controversy with KOT that is ripe and

  therefore justiciable for declaratory relief determination. KOT likewise filed a Motion to Dismiss

  asserting no case or controversy between KOT and AIG as a basis for dismissal. [R. Doc. 42]

                                                  3.

         On May 2, 2022, AIG filed a 29 page Joint Memorandum in Opposition to KOT’s and

  Rippy Oil’s Motion for Abstention and to Dismiss or in the alternative Stay or Transfer. [R. Doc.

  63].

                                                  4.

         On May 6, 2022, ACE American Insurance Company (“ACE”) filed a 19 page Response

  to Rippy Oil’s Motion to Dismiss. [R. Doc. 64.] Pursuant to the Court’s Order, Rippy Oil’s current

  deadline to file a Motion for Abstention and to Dismiss or in the alternative Stay or Transfer.

                                                  5.

         In order to adequately reply to AIG’s and ACE’s Motions, Intervenor Rippy Oil seeks leave

  to file a 19 page combined Reply Memorandum (excluding cover page, Table of Contents, Index

  of Authorities, and Conclusion and Prayer) rather than two separate 10 page replies. A 19 page

  Reply Memorandum will be 9 pages in excess of Local Rule 7.8 page limitation.

                                                  6.

         Pursuant to Local Rules 7.4.1 and 7.9, as evidenced by the certificate located at the end of

  this motion, Rippy Oil has obtained consent for the filing and granting of this motion from all

  parties having an interest to oppose.

                                                  7.

         A copy of the proposed reply Memorandum is attached.




                                                   2
Case 6:21-cv-04191-RRS-CBW Document 73 Filed 05/19/22 Page 3 of 4 PageID #: 2363




         WHEREFORE, premises considered, Intervenor, RIPPY OIL COMPANY (“Rippy Oil”),

  prays that this unopposed motion be granted, and that Rippy Oil be granted leave to file a combined

  Reply Memorandum in response to AIG’s Response. [R. Doc. 63] and ACE’s Response [R. Doc.

  64].

                                               Respectfully submitted,

                                               GIBSON LAW PARTNERS, LLC
                                               Attorneys at Law

                                               By: _/S/ James H. Gibson____________________
                                                   JAMES H. GIBSON
                                                   LSBN: 14285
                                                   2448 Johnston St. (70503)
                                                   P.O. Box 52124
                                                   Lafayette, LA 70505
                                                   Direct Dial: 337-761-6025
                                                   Main: 337-761-6023
                                                   Fax: 337-761-6061
                                                   Email: jimgibson@gibsonlawpartners.com


                                               LAW OFFICE OF KENNETH TEKELL, SR.
                                               PLLC

                                               By:       /S/ Kenneth Tekell           ___________
                                                      Kenneth Tekell, Sr. – Signed by Permission
                                                      State Bar No. 19764000
                                                      ktekell@balagiatekell.com
                                                      6 Broad Oaks Lane
                                                      Houston, Texas 77056
                                                      Telephone: 713-823-6558


                                               TAYLOR, BOOK, ALLEN & MORRIS, L.L.P.

                                               By: _/S/ Mike Morris______________________
                                                      Mike Morris
                                                      State Bar No. 14495800
                                                      1221 McKinney, Suite 4300
                                                      Houston, Texas 77010
                                                      (713) 222-9542
                                                      (713) 655-7727 - Fax


                                                  3
Case 6:21-cv-04191-RRS-CBW Document 73 Filed 05/19/22 Page 4 of 4 PageID #: 2364




                                                        mmorris@taylorbook.com

                                           ATTORNEYS FOR INTERVENOR, RIPPY
                                           OIL COMPANY
                                   CERTIFICATE OF SERVICE

          I certify that on this 19th day of May, 2022, a true and correct copy of the foregoing
  instrument was served via electronic means through transmission facilities from the Court upon
  those parties authorized to participate and access the Electronic Filing System for the United States
  District Court, Western District of Louisiana.


                                      __/S/ James H. Gibson___
                                         JAMES H. GIBSON


                                      LR 7.4.1 CERTIFICATE

         Pursuant to Local Rule 7.4.1, I hereby certify that I have obtained consent for the filing and

  granting of this motion from all parties having an interest to oppose.

                                         __/S/ Mike Morris___
                                           MIKE MORRIS


                                       LR. 7.9 CERTIFICATE

         Pursuant to Local Rule 7.9, I hereby certify that there is no opposition to this request by

  plaintiff AIG Specialty Insurance Company.


                                         __/S/ Mike Morris___
                                           MIKE MORRIS




                                                   4
